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                          EXHIBIT B
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                                               October 30, 2020

 Via Email – voters@montco.org &                              Via Email – val@montcopa.org
 Facsimile – 610-292-4527                                     Facsimile – 610-292-4527
 Montgomery County Board of Elections                         Valerie A. Arkoosh, MD, MPH
 P.O. Box 311                                                 Montgomery County Board of Elections
 Norristown, PA 19404-0311                                    P.O. Box 311
                                                              Norristown, PA 19404-0311
 Via Email – ken@montcopa.org
 Facsimile – 610-292-4527                                     Via Email – coo@montcopa.org
 Kenneth E. Lawrence Jr., Chair                               Facsimile – 610-292-4527
 Montgomery County Board of Elections                         Lee Soltysiak, Chief Clerk
 P.O. Box 311                                                 Montgomery County Board of Elections
 Norristown, PA 19404-0311                                    P.O. Box 311
                                                              Norristown, PA 19404-0311
 Via Email – JGale@montcopa.org
 Facsimile – 610-292-4527                                     Via Email – JStein1@montcopa.org
 Joseph C. Gale, Vice Chair                                   Facsimile – 610-292-4527
 Montgomery County Board of Elections                         Josh Stein, Esquire, County Solicitor
 P.O. Box 311                                                 One Montgomery Plaza
 Norristown, PA 19404-0311                                    Suite 800
                                                              Norristown, PA 19404

       Re:     Mail-In Ballot Security, Chain of Custody and Canvass Protocols

To the Honorable Members of the Montgomery County Board of Elections:

        Please be advised that I have assumed the representation of Kathy Barnette, the Republican
candidate for the United States House of Representatives, Pennsylvania 4th District, and her campaign
committee, the Friends for Kathy Barnette (the “Barnette Parties”). Prior to this the Barnette Parties
were represented by Jonathan S. Goldstein, Esquire and his firm Goldstein Law Partners, LLC. I
mention this because Mr. Goldstein has been in communication with County Solicitor Stein on behalf
of the Barnette Parties concerning the matters addressed in this correspondence. Mr. Goldstein and his
firm no longer represent the Barnette Parties and, going forward, please direct your communications
regarding the Barnette Parties and the matters raised herein to my office only or to such others I may
request that you include.

        My clients are concerned with the security, chain of custody and canvass protocols being
employed regarding mail-in ballots. Given the difficulties with controlling the collection and canvass
of the mail-in ballots during the June primary, we are hopeful that the Board of Elections shares our

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                                E - m a i l • A Te i t e l m a n @ t e i t e l a w. c o m
                                                                                                  EX B - 1
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desire for a transparent and open mail-in ballot process for the general election and the canvass
beginning on November 3rd. As stated in Mr. Goldstein’s email exchange with County Solicitor Stein
on October 29th, it is my clients’ intention to make a video and audio record of the mail-in and absentee
ballot canvass beginning on November 3rd at 7:00 a.m. when the pre-canvass commences.

        Mr. Goldstein was partially in error by stating that the recordings would be made by one of the
Barnette Parties’ “watchers.” My clients intend to record the process from multiple perspectives during
the entire canvass period, so it is likely that more than one representative, whether a watcher pursuant
to 25 P.S. § 2650 (a), or attorney in fact pursuant to 25 P.S. § 2650 (b), will be participating in the
recordings at any given point in the process. We also anticipate working with other candidates who
also want to assure an accurate and impartial recording of the mail-in ballot canvass to make certain
there is adequate coverage. It is also our intention to make copies of the recordings available to the
Board of Elections.

        My clients will, as Mr. Goldstein noted to County Solicitor Stein, be assiduous in assuring that
their representatives will not record any specific ballot nor will they interfere with the persons
performing the canvass or others properly present, and they will be as quiet and unobtrusive as
possible. Mr. Goldstein indicated that he was close to reaching an agreement with County Solicitor
Stein regarding my clients’ intention to record the mail-in/absentee ballot canvass. We hope to
continue in that cooperative spirit and would like to further these discussions with you. I am available
any time this evening and over the weekend by phone at 267-255-6864 and by email at
ateitelman@teitelaw.com. We will also be available Monday morning as well.

        Separately, my clients have an ongoing request to which they require a written response. To
date, despite many informal inquiries by the Barnette Parties and others, we still do not have a formal
written set of procedures and protocols from the Board for the handling of mail-in ballots from
inception through the canvass and any recount(s). For instance, we were led to believe that the ballot
drop boxes were to be under video surveillance whenever they were in operation and that we would
have access to those streams in real time and/or recordings thereafter. That has not proven to be the
case and we need to know if such recordings were made and how we can obtain access. Additionally,
my clients were informed yesterday that the document entitled “Delaware County Board of elections
2020 General Election Pre-Canvass and Canvass Process,” (attached hereto) has been adopted by your
Board. Is this accurate and, if so, what procedure is in place to dispute the portions of this document
that my clients find objectionable?

        We are hopeful that you will be able to adequately respond to our inquiries and work
cooperatively with my clients to accommodate the recording process discussed earlier and establish
polling and canvassing practices that are as transparent and open as we should all desire. This is
especially important for this election, which is the first general election to employ such widespread
mail-in balloting while also dealing with COVID-19 concerns, with what is, most-likely, going to be a
record turnout of voters.

       Thank you for your consideration.

                                                             Sincerely,

                                                             Andrew Teitelman

AT/s


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         Delaware County Board of Elections

                   2020 General Election

           Pre-Canvass and Canvass Process

The Pre-canvass

The pre-canvass shall commence promptly at 7:00 am on Election
Day in the building housing the Bureau office in Chester. Upon or
shortly before the commencement of the pre-canvass, a list of all the
names of the voters whose ballots are to be pre-canvassed will be
posted on the Board website, emailed to party leaders, and provided
to any observers present at the pre-canvass.

During the pre-canvass, Board staff will compare the names on the
list of ballot envelopes to be pre-canvassed or canvassed to a list
provided by the Voter Registration Office of voters who have passed
away in the period from October 1, 2020 through Election Day and
remove the ballot envelopes of any such voters. Ballots of deceased
voters shall not be counted and shall be entered in the SURE system
as cancelled in accordance with SURE system procedures.

Each remaining ballot envelope will then be reviewed to confirm
that the voter is on the absentee/mail-in voter list as reflected in the
preprinted label on the ballot envelope and examined by a Board
staff member to assess the sufficiency of the voter declaration on the
ballot envelope. In instances where Board staff is uncertain as to the
sufficiency of a voter declaration, the matter shall be elevated to the
attention of Ms. Hagan and/or Ms. Jackson, who will, in
consultation with the Board Solicitor, make a final determination on


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that question in accordance with the authority delegated to them by
the Board.

All outer ballot envelopes that are successfully confirmed through
the foregoing examination process will then be opened. An outer
ballot envelope may opened as soon as it is successfully confirmed.

Once the outer ballot envelope is opened, Board staff shall examine
the contents of that envelope. If upon inspection of the contents of
the outer envelope Board staff discovers that the envelope contains a
naked ballot, such naked ballot shall be returned to the outer
envelope and set aside and coded as cancelled as described in the
October 25, 2020 directive from the Pennsylvania Department of
State.

If the outer ballot envelope is found, once opened, to contain a
privacy envelope, Board staff shall examine the privacy envelope
for any text, mark or symbol that reveals the identity of the voter,
the voter's political affiliation, or the voter's candidate preference.
Any ballots with such text, markings, or symbols on the privacy
envelopes shall be elevated to the attention of Ms. Hagan and/or Ms.
Jackson, who will, in consultation with the Board Solicitor,
determine, in accordance with the authority delegated to them by the
Board, whether the indications disqualify the ballot. Any ballot
disqualified for prohibited markings on the privacy envelope shall
be returned to its privacy envelope and shall be set aside and
declared cancelled as set forth below.

Each ballot that clears the forgoing process shall be prepared for
scanning and scanned.




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The pre-canvass shall conclude at 8:00 pm on Election Day. When
the pre-canvass concludes, the results of the pre-canvass will be
tallied on the scanners.

The Canvass

The pre-canvass shall automatically convert into the canvass at 8:00
pm on Election Day.

If the list of ballots to be pre-canvassed was not completed during
the pre-canvass, the canvass will continue the review process
described above for the ballots remaining from the pre-canvass list.

When the pre-canvass/canvass of all of the ballots on the pre-
canvass list nears completion, a list of remaining ballots to be
canvassed will be generated and posted on the Board website,
emailed to party leaders, and provided to any observers present at
the canvass. That list will be updated on a daily basis to reflect
ballots newly received by the Board.

At the conclusion of the canvass, any ballots determined during the
pre-canvass or canvass to be ballots that should not be counted,
including (1) naked ballots, (2) ballots with disqualifying marks on
the privacy envelope, and (3) ballots that were not successfully
confirmed during the confirmation process, that have not previously
been entered into the SURE system as cancelled shall be entered in
the SURE system as cancelled in accordance with SURE system
procedures and Pennsylvania Department of State directives and
guidance.




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Hearings on Timely Challenged Ballots

At the place and time designated by the Board and noticed in
accordance with the requirements of the Election Code, the Board
shall hold a hearing on any Timely Challenged Ballots. Any ballots
determined by the Board at such hearing to meet the statutory
requirements to be counted shall be opened, scanned, and counted in
the usual manner. All ballots determined by the Board at such
hearing to fail to meet the requirements to be counted will not be
counted and shall be entered in the SURE system as cancelled in
accordance with SURE system procedures and Pennsylvania
Department of State directives and guidance.

Pre-canvass/Canvass Observers

One authorized representative observer of each candidate in the
election and one representative from each political party shall be
permitted to be in the room in which the absentee ballots and mail-
in ballots are pre-canvassed/canvassed; provided, however, that if
the number of observers is such that there is not sufficient space to
accommodate all observers at one time in the designated observers
area while permitting social distancing, then the observers for the
two major parties and for the two major Presidential Campaigns
shall be permitted to remain in the room at all times, while the other
observers shall be permitted to be in the room on a rotating basis as
space and health guidelines permit.

No person observing, attending or participating in the pre-canvass
may disclose the results of any portion of the pre-canvass prior to
the close of the polls at 8 pm on Election Day.



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Any party or candidate seeking to have an observer at the pre-
canvass or canvass must email
ElectionBoardMembers@co.delaware.pa.us with the name of each
observer they would like to appoint, the observer’s address, and—if
the observer is the attorney for a party or candidate—the PA Bar
number of the observer. Due to security restrictions, observer
requests must be received by 5 p.m. on Friday, October 30, 2020 in
order to be approved prior to Election Day. Requests received after
that deadline will be processed on a rolling basis any may not be
processed prior to the start of the pre-canvass or canvass.

Observers must be pre-approved in accordance with the process
described above and pass a security and health screening in order to
be admitted to the pre-canvass and canvass. Each observer must sign
the observer log and a written declaration not to disclose the results
of any portion of the pre-canvass prior to the close of the polls in
order to gain admission to the pre-canvass/canvass.

Each observer must remain in the physical area(s) within the room
designated for observers. Observers must at all times wear a face
mask, observe social distancing, and comply with other safety
guidelines. Observers may not disrupt or interfere with Board staff
performing the pre-canvass and canvass. Observers shall not be
permitted to take photographs, video or audio recordings, or use
mobile phones inside the observation area during the pre-canvass or
canvass. Any observer who does not remain within the designated
observer area, does not comply with safety guidelines, violates the
prohibitions against interference with Board staff or against the
taking of photographs, recordings, or mobile phone use, or engages
in any other disruptive conduct shall be removed from the pre-
canvass/canvass. Any observer removed from the pre-canvass/
canvass for failure to remain in the designated observer area, failure


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to comply with safety guidelines, or for any other disruptive conduct
shall not subsequently be readmitted to the pre-canvass/canvass.

Observers have no right to raise any challenge to any ballot during
the pre-canvass or canvass. Any observer who attempts to raise such
a challenge shall be removed from the room for engaging in
disruptive conduct.

J. Manly Parks
Solicitor
Delaware County Board of Elections




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